960 F.2d 146
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Reginald L. FRAZIER, Petitioner-Appellant,v.NORTH CAROLINA STATE BAR;  Jean Boyd, Clerk of SuperiorCourt;  Herbert Smalls, Superior Court Judge;Pete Bland, Sheriff of Craven County,Respondents-Appellees.
    No. 91-6135.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 1, 1992Decided:  April 29, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-91-446-HC)
      Reginald L. Frazier, Appellant Pro Se.
      Clarence Joe DelForge, III, Office Of The Attorney General Of North Carolina, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      DISMISSED.
      Before WIDENER and SPROUSE, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Reginald L. Frazier seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's oral ruling discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Frazier v. North Carolina State Bar, No. CA-91446-HC (E.D.N.C. Aug. 12, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    